                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

NICOLE JENNINGS WADE,
JONATHAN D. GRUNBERG, and
G. TAYLOR WILSON,
                                          Case No. 1:22-CV-1073-MLB
              Plaintiffs,

       v.

L. LIN WOOD,

              Defendant.


      PLAINTIFFS’ EMERGENCY MOTION TO CONSIDER ON AN
       EMERGENCY BASIS PLAINTIFFS’ MOTION TO REQUIRE
                     DEFENDANT TO POST
           SUPERSEDEAS BOND AND BRIEF IN SUPPORT

      Plaintiffs have just learned that Defendant Wood sold a piece of real property,

Huspah Plantation, for $4 million last week—just four days after he filed his Motion

for Approval of Supersedeas Bond, (Dkt. 155), claiming that he could not post a

bond. (See Declaration of Nicole Wade dated September 24, 2024, submitted

herewith as Exhibit 1 (“Wade Decl.”), at ¶ 3 and Exhibit A).

      Last week, on September 16, Plaintiffs moved for an order requiring Wood to

post a supersedeas bond in the amount of $4,731,807.61. (Dkt. 154). On the same

day, Wood filed a Motion for Approval of Supersedeas Bond and Motion to Stay

Execution of Judgment Pending Appeal. (Dkt. 155). In his Motion filed on Monday,

September 16, Wood claimed that he “cannot obtain a surety bond because I do not

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have the liquid cash necessary for the issuance of a bond.” (Dkt. 155-2 ¶ 10). Wood

purported to offer certain properties as collateral—never mentioning the Huspah

Plantation property that he was planning to sell on Friday—even falsely representing

to the Court that he still owned property that he had already sold. (See id; see also

Dkt. 155 at 4-5; Dkt. 157 at 2-8; Dkt. 157-1 ¶ 5 and Ex. C). Then, on Friday,

September 20, Wood sold the Huspah Plantation property for $4 million

dollars. (Wade Decl. ¶ 3 and Ex. A).

                                  ARGUMENT

      Plaintiffs respectfully request that the Court hear this Motion on an emergency

basis and thereby either: (1) rule upon Plaintiffs’ Motion to Require Defendant to

Post Supersedes Bond (Dkt. 154) and Defendant’s Motion for Approval of

Supersedeas Bond (Dkt. 155) on an expedited basis, including by construing

Defendant’s Motion (Dkt. 155) as a response brief to Plaintiff’s Motion (Dkt. 154);

or (2) grant an immediate hearing on Plaintiffs’ Motion to Require Defendant to Post

Supersedes Bond (Dkt. 154) and Defendant’s Motion for Approval of Supersedeas

Bond (Dkt. 155).

      Pursuant to Local Rule 7.2(B), upon good cause shown, the court may waive

the “time requirements of this rule and grant an immediate hearing on any matter

requiring such expedited procedure.”




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      Good cause exists for expedited relief given: (1) Wood’s outright lies to this

Court about his assets as they relate to the issue of a supersedeas bond (see Dkts.

157 at 5-7; 157-1 ¶ 5 and Ex. C (describing Defendant’s false statements about his

ownership of property he seeks to pledge as security)); (2) Wood’s Motion (Dkt.

155) failing to discuss Huspah or his plans to sell it four days after he filed the

Motion; (3) Wood currently being in control of assets from the sale of Huspah that

would almost entirely satisfy the amount necessary for a supersedeas bond;1 and (4)

the risk that Wood may dissipate those assets he controls unless they are put towards

a supersedeas bond.

                                 CONCLUSION

      For the foregoing reasons, Plaintiffs request that this Court grant this

emergency motion to hear on an emergency basis Plaintiffs’ Motion to Require

Defendant to Post Supersedes Bond (Dkt. 154) and Defendant’s Motion for

Approval of Supersedeas Bond (Dkt. 155).

      Respectfully submitted this 24th day of September, 2024.

                                               /s/Andrew M. Beal
                                               Andrew M. Beal
                                               Georgia Bar No. 043842
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                                               Milinda L. Brown

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   Wood has asserted that the entity that owned Huspah—The Tomotley Crew,
LLC—is his alter ego and that he has complete control of all of its assets,
characterizing property owned by The Tomotley Crew, LLC as “his parcels of real
property.” (See Dkt. 155 at 2 (discussing Cotton Hall)).
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                      CERTIFICATE UNDER L.R. 7.1D

        Pursuant to Northern District of Georgia Civil Local Rule 7.1D, the

undersigned counsel certifies that the foregoing document is a computer document

and was prepared in Times New Roman 14-point font, as mandated in Local Rule

5.1C.

Dated: September 24, 2024.

                                    /s/ Andrew M. Beal
                                    Counsel for Plaintiffs




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     v.

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                           CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the foregoing

pleading upon all parties of record by filing same with the Court’s electronic

filing system which will deliver a copy to all counsel of record.

      Respectfully submitted, this the 24th day of September, 2024.

                                                  BEAL SUTHERLAND
                                                  BERLIN & BROWN, LLC


                                                  /s/ Andrew M. Beal
                                                  Andrew M. Beal
                                                  Georgia Bar No. 043842




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